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     IT IS ORDERED as set forth below:



     Date: October 2, 2018
                                                     _____________________________________
                                                                Wendy L. Hagenau
                                                           U.S. Bankruptcy Court Judge

_______________________________________________________________




                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                               CASE NO. 18-63282-wlh

HRN GROUP, LLC AKA                                   CHAPTER: 7
HOMERETENTION,
          Debtor.                                    JUDGE: WENDY L. HAGENAU

WELLS FARGO BANK, NATIONAL
ASSOCIATION AS TRUSTEE FOR
SOUNDVIEW HOME LOAN TRUST 2007-
OPT1, ASSET-BACKED CERTIFICATES,
SERIES 2007-OPT1,
            Movant,                                  CONTESTED MATTER

v.

HRN GROUP, LLC, Debtor,
JOHN LEWIS, JR., Trustee,
           Respondent(s).

               ORDER GRANTING MOTION FOR RELIEF FROM STAY (#13)

         The above styled Motion was called for hearing on September 27, 2018 upon Notice of
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Hearing to each of the above-captioned parties in interest. The Matter was heard by the Court.

Present at the hearing were Andrew H. McCullen, for Movant and Danitta Morton, a/k/a Danitta

Ross, for the Debtor. Accordingly;

        IT IS HEREBY ORDERED that the 11 USC §362(a) automatic stay is modified for

Movant herein, its successors and assigns, regarding the real property commonly known as 4596

Meadow Creek Path, Lithonia, Georgia 30038.

        FURTHER ORDERED that Movant, its successors and assigns, may assert its rights,

including, but not limited to, the institution and completion of foreclosure proceedings, the

collection of reasonable fees, and may assert all of its respective rights and remedies under

applicable law, as to its collateral.

        FURTHER ORDERED that upon completion of any foreclosure sale, any funds which

may be in excess of the amount due to Movant and to any subordinate lienholder(s) properly

entitled to receive proceeds under applicable State law, shall be paid to the Trustee for the

benefit of the Estate.

        FURTHER ORDERED that the provisions of Bankruptcy Rule 4001(a)(3) are waived.

                                        [END OF DOCUMENT]


PREPARED AND PRESENTED BY:

/s/ Andrew H. McCullen
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DISTRIBUTION LIST

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